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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    VIRGINIA L. GIUFFRE,

4                     Plaintiff,

5                v.                                15 Civ. 7433 (RWS)

6    GHISLAINE MAXWELL,

7                     Defendant.                   Oral Argument

8    ------------------------------x
                                                   New York, N.Y.
9                                                  February 2, 2017
                                                   12:04 p.m.
10
     Before:
11
                             HON. ROBERT W. SWEET,
12
                                                   District Judge
13
                                   APPEARANCES
14
     BOIES, SCHILLER & FLEXNER LLP
15        Attorneys for Plaintiff
     BY: SIGRID S. McCAWLEY, ESQ.
16
     HADDON, MORGAN AND FOREMAN, P.C.
17        Attorneys for Defendant
     BY: LAURA A. MENNINGER, ESQ.
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1              (Case called)

2              MS. McCAWLEY:    Yes, your Honor.     We're here today on

3    the plaintiff's letter motion --

4              THE COURT:    Yes.

5              MS. McCAWLEY:    -- to add a new witness.       May I begin?

6              THE COURT:    Yes.

7              MS. McCAWLEY:    I'm going to refer, since there are

8    other individuals in the courtroom, to the individual as the

9    witness, if that's all right with the Court, and attempt not to

10   disclose any confidential information.

11             We're seeking to add a new witness that we would like

12   to use at trial.    We have revised our Rule 26 disclosures to

13   disclose that witness, and we immediately told the defendants

14   that we would make the witness available for deposition in New

15   York at a time that was convenient for them.         We believe that

16   this witness is somebody that should have been on the

17   defendant's Rule 26 disclosures as an initial matter, this

18   particular individual.

19             With respect to the process that we're seeking here

20   today, your Honor, we would request that the Court allow a

21   deposition to go forward so that we can use this witness at

22   trial.   As the Court knows, the plaintiff has been very

23   diligent in discovery in this case.        We've produced over 10,000

24   pages of documents, we've tracked down witnesses wherever we

25   could in order to gather information that was relevant to the


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1    trial in this matter.     You held, in your case of MBIA v.

2    Patriarch, which is 2012 WL 2567892, that "this Court and other

3    courts have adopted the taking of deposition as the appropriate

4    mechanism to address late-disclosed witnesses."          So your Honor,

5    we believe that this is the appropriate way to resolve any

6    prejudice to any of the parties by producing this witness for

7    deposition.    This witness is in Europe, and we agreed to fly

8    her over as swiftly as possible to allow that to occur.             We

9    acted diligently with respect to this witness once we were

10   informed of the witness.      We then conducted a due diligence

11   investigation to ensure that she had information that was

12   highly relevant to the case.      We flew our lawyers to meet with

13   her in person and had her sign an affidavit at the embassy, the

14   US embassy in Europe, which has been submitted in this matter

15   confidentially.    We believe she's critical to the issues in

16   this case.    She directly contradicts a number of the

17   defendant's statements under oath that relate to what we

18   contend was the sexual trafficking organization and also one of

19   the witnesses that they intend to propose at trial.

20             So your Honor, we believe we meet the test.         As the

21   Court knows, there's a six-prong test that you can look at in

22   this process, and we believe we meet that test and that it

23   would be prejudicial to the plaintiff to not allow this witness

24   in.   If we had known about her earlier, we certainly would have

25   had her on our Rule 26 disclosures.        We believe she is


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1    necessary for the trial in this matter, and we believe that the

2    case law supports that in this instance.

3              Thank you, your Honor.

4              THE COURT:    Thank you.

5              MS. MENNINGER:     Good morning, your Honor.      Laura

6    Menninger on behalf of defendant Ghislaine Maxwell.

7              Ms. Maxwell, your Honor, absolutely denies these new

8    allegations relating to events that purportedly occurred more

9    than a decade ago and, moreover, do not bear directly on the

10   defamation claim at issue in this case.

11             I'd like to make four points, your Honor, in

12   addressing what is essentially plaintiff's request to call this

13   new witness at trial for which they urge the Court a simple

14   deposition would cure any prejudice.

15             First of all, simply permitting a deposition of this

16   late-disclosed witness does not cure the significant prejudice

17   to Ms. Maxwell based on the facts and procedural posture of

18   this case.    The deposition, your Honor, would be the beginning

19   of the process of defending against this new claim, this new

20   allegation by this new witness, related to a time period that

21   is not at all overlapping with the plaintiff's allegations in

22   this case.    One affidavit has been submitted, your Honor.         It

23   is four paragraphs in length, of which one paragraph actually

24   mentions my client.     The witness is apparently a South African

25   national who lives in Europe.       She was present, according to


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1    the affidavit, for a six-month period, more than a decade ago.

2    In order to investigate, as we would be obligated to do and

3    entitled to do, your Honor, we would be forced to engage in

4    cross-border discovery.      A simple Rule 45 subpoena would not

5    suffice, your Honor.     Does she have a criminal record?           In

6    which countries has she lived?       Does she have a history of

7    fabricating stories?     Has she participated in other litigation?

8    Does she have a motive to depart from the truth for financial

9    gain?   Over the last ten years has she mentioned these

10   allegations to anyone?     Who are they?     How can they be

11   contacted?    Plaintiff's Rule 26 disclosure doesn't even give

12   the woman's address.     The Rule 26 disclosure, your Honor, says

13   that she can be reached care of one of plaintiff's attorneys.

14   They gave no other documents to support her claims -- no

15   photos, no travel documents, no names of other witnesses.                So

16   apparently, your Honor, apart from her testimony, the only

17   thing they intend to introduce at trial is her testimony.

18             Contemporaneous with taking her deposition, indeed to

19   prepare for her deposition, your Honor, we would need to engage

20   in other discovery.     There are, as your Honor is well aware,

21   some 25 witnesses who have been deposed in this case.           And fact

22   discovery closed last July.      Any one of those witnesses who

23   supposedly had contact with this witness would either need to

24   be reinterviewed or redeposed.       Expert discovery closed, your

25   Honor, more than two months ago.       Plaintiff has engaged an


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1    expert in what she calls human trafficking, the law related to

2    human trafficking.     This woman's allegations differ in material

3    respects from those of the other complainants and I believe

4    would require the reopening of that expert's deposition.

5    Depending on the results of our investigation, your Honor,

6    there may be other witnesses in other countries, and I doubt

7    any of them are here in New York who would be required to be

8    deposed in order to preserve their trial testimony.

9              Your Honor, over the next five weeks, between now and

10   trial, as you know, there is a significant amount of litigation

11   that needs to occur, primarily in this courtroom.          We have our

12   reply to summary judgment due next week, we have our 702

13   replies due next week, we have our joint pretrial order due

14   next week, we have arguments here on February 16th on all of

15   those motions, we have arguments here on February 23rd in

16   relation to all of our objections to deposition designations,

17   which are voluminous.     It would be a substantial, significant

18   imposition to both investigate a decades-old allegation that

19   occurred by someone who didn't overlap with plaintiff at the

20   same time we are preparing for a trial next month of two weeks

21   in length.

22             I'd like to next address plaintiff's argument that

23   somehow we should have disclosed this witness in our Rule 26

24   disclosures.

25             THE COURT:    Yes.


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1              MS. MENNINGER:     Plaintiff omitted from her recitation

2    of Rule 26 the second half of the same sentence, which requires

3    disclosure of individuals with discoverable information, and

4    I'll supply the rest of the sentence now, your Honor, "that the

5    disclosing party may use to support its claims or defenses,

6    unless the use would be simply for impeachment."          Your Honor,

7    obviously, the defense has no intention of using this woman to

8    support its claims or its defenses.

9              Third, the information disclosed, your Honor,

10   demonstrates the very limited information -- the four

11   paragraphs of information demonstrate that this witness'

12   evidence is neither relevant nor material to this defamation

13   action.

14             Your Honor, this particular witness is an adult woman.

15   She was an adult woman in her 20s when she claims to have met

16   the gentleman who serves as the backdrop of this litigation.

17   She met him, she says, by virtue of being introduced by a

18   completely different person, not by my client, your Honor.          She

19   says she met him in the year 2006, which was four years after

20   plaintiff had moved to another country and had stayed in that

21   country for a decade.     They haven't met each other.       They don't

22   know each other.    She has no direct evidence with regard to

23   plaintiff and plaintiff's action.       She also alleges facts that

24   are significantly different from plaintiff's and therefore

25   would make them ineligible to be admitted vis-à-vis Rule


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1    404(b).    In her declaration, the only paragraph in which she

2    mentions my client at all is all inadmissible evidence, your

3    Honor.    It's speculative.      She's guessing about things.       I'm

4    hesitant to recite them because I know that plaintiff has

5    marked that declaration confidential, but if your Honor checks,

6    she is saying things that are based purely on her speculation.

7    There is no evidence, including the evidence included in the

8    letter motion --

9               THE COURT:    You know, oddly enough, I don't seem to

10   have any affidavit from her.

11              MS. MENNINGER:    It was in the plaintiff's reply

12   motion, attached to the plaintiff's reply motion in the copy I

13   received, your Honor.

14              MS. McCAWLEY:    Your Honor, if I can approach, I can

15   hand you a copy of that.

16              THE COURT:    Okay.    Fine.   Thanks.   I'll take it.

17              Oh, yes.   My apologies.       I did have it.   Yes.     I

18   didn't realize that.      Hold on just a second.

19              Yes.   Yes.   Thank you.

20              MS. MENNINGER:    In paragraph 3, she talks about what,

21   quote-unquote, "became clear to me" and what "appeared to be"

22   things and she recalls seeing things that she believes

23   indicated ages of other individuals there but has no direct

24   knowledge of that information.        Upon a full briefing, your

25   Honor, I believe your Honor would be led to conclude that this


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1    is impermissible 404(b) evidence.       It's not direct evidence

2    that goes to the heart of this defamation case, your Honor,

3    brought by plaintiff.

4              Your Honor, plaintiff has been represented by current

5    counsel for approximately six years.        During those six years

6    they have had these flight logs for the entire time.          There are

7    some hundreds and hundreds of flight log pages with individuals

8    named on them.    My client denies knowing this woman, and

9    there's nothing on the flight logs that indicate they were

10   together at any point in time.

11             While plaintiff has argued they have acted diligently

12   after learning of this witness, your Honor, in none of their

13   pleadings, neither in court today, have they told your Honor

14   when they first were contacted by her, first met her, or the

15   like.   All we know is that in the last 30 days, they've had

16   enough time to go to Europe to meet with her, to draft a

17   separate complaint which they filed.        They said they've done

18   due diligence.    As I pointed out already, your Honor, the

19   Rule 26 doesn't even give her address, much less any initial

20   disclosures under Rule 26 of corroborating evidence, like her

21   own travel records, or her own photographs, or anything else

22   that they would use to support this claim.         So waiting, your

23   Honor, for more than 30 days to seek to reopen discovery,

24   frankly, when we are 39 days from trial, is too long.

25             Your Honor, we absolutely object to having this new


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1    witness called at trial.       We've been litigating for a year and

2    a half vigorously litigating for a year and a half, and

3    discovery has been closed, fact discovery has been closed for

4    six months and expert discovery for more than two.           We have not

5    had sufficient time since we received this one week ago to

6    investigate these allegations -- certainly not to prepare for a

7    deposition, and we do not have time going forward to both do

8    that and simultaneously engage in the very complicated,

9    rigorous pretrial depressed schedule that we have set between

10   now and March 13th.     If, however, your Honor is inclined to

11   allow this witness to testify at trial, then, in addition to

12   her deposition, we will need at least 90 days to do all of the

13   things that I've outlined above.       We don't know how long

14   plaintiff has been engaging in their due diligence, but as your

15   Honor knows, when someone makes an allegation about events

16   occurring more than ten years ago, it takes more than 39 days

17   to look into contrary facts and to do what is appropriate for

18   any lawyer to do to defend against these claims.

19             Thank you.

20             MS. McCAWLEY:     Your Honor, may I be heard?

21             THE COURT:    Yes.

22             MS. McCAWLEY:     Your Honor, this witness is obviously

23   critical to the case.      We would not have brought this witness

24   to the Court in this circumstance unless that was the

25   situation.


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1              The idea that discovery has been closed since July is

2    a bit inaccurate in that there have been subsequent depositions

3    of witnesses -- in fact one was taken just last week -- of

4    witnesses who were not cooperative in the discovery process, so

5    we had to get orders in order to compel their testimony.             So

6    that discovery has been ongoing for those bits and pieces that

7    we needed to shore up.

8              While I appreciate the concern over the fact that the

9    Rule 26 disclosures has her name, it does identify counsel,

10   which is appropriate in a Rule 26 disclosure if the individual

11   is represented by a lawyer so that they're not directly

12   contacted.

13             With respect to the deposition, of course we said we'd

14   fly her over right away to have that take place.          We're not

15   objectionable to receiving a subpoena, to the extent that's a

16   concern because she is a foreigner.        We want to comply with

17   discovery here.

18             We feel that this is definitely critical information.

19   I know that you've heard a parade of horribles from the

20   defendants, but really, this is just a situation where a

21   witness was not disclosed previously.        We did not know of her.

22   Of course if we had known of her, she would have been number

23   one on our list, because we believe she is absolutely critical

24   to the allegations in this case.       While this is referenced as a

25   defamation case a number of times, the defamation at issue was


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1    about whether or not there was a sexual trafficking and sexual

2    abuse situation occurring.      She corroborates that directly,

3    your Honor, so she is critical to the case in that regard.           She

4    has directly observed things that other individuals had not

5    observed, so we believe she is not at all duplicative and is

6    necessary for us to be able to try this case.

7               I appreciate the concerns about timing, your Honor.

8    In fairness, if that is the concern of the Court, we're happy

9    to accommodate that in some way.       We just do want to make sure

10   that we're able to bring this witness' testimony forward,

11   because we believe that's very important to the jury with

12   respect to this issue.      We were diligent with respect to this

13   witness.    We did, as soon as she was able to meet with us, get

14   on a plane and go to Europe, and we then, within the week,

15   disclosed her and said we would produce her for deposition,

16   your Honor.    So while I appreciate those concerns, we will bend

17   over backwards to allow discovery in order to get this witness

18   before the Court.

19              So we appreciate the Court entertaining our motion,

20   and we hope that you will allow this witness to testify at

21   trial.

22              THE COURT:   Considering the factors which have to be

23   considered with respect to such an application, the trial is

24   imminent.    The request is opposed.      As to the prejudice of the

25   nonmoving party, the defendant, I understand that it would put


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1    a burden upon them to do the things that they think is

2    necessary in the event that the deposition goes forward, but

3    that kind of prejudice is the prejudice created by this lawsuit

4    and that's unavoidable, so I don't think that there is any

5    prejudice in the sense of impropriety of the deposition.

6              And of course, I make no determination at this time as

7    to whether or not this witness has anything to say that would

8    be material in the case which we have.        I reach no conclusion

9    on that, and I understand that that can be a subject of some

10   considerable discussion at a later time.

11             As far as the diligence of the plaintiff is concerned,

12   I think under all the circumstances set forth in the letters

13   and today, I think they were reasonably diligent with respect

14   to this witness.

15             As to whether it leads to relevant evidence or not, I

16   have no idea.    It has been stated that it will contradict a

17   direct statement by the defendant.        Maybe yes, maybe no.       I

18   just don't know.     I don't know whether the testimony by this

19   witness is going to involve a statement by the defendant or

20   what it's going to involve.       But it is conceivable, it seems to

21   me, that it may lead to relevant evidence.

22             Therefore, considering all these factors, I will grant

23   the motion.    The deposition may go forward.       The discovery is

24   open for this limited purpose of dealing with this witness and

25   her deposition.    I anticipate that it may generate, as


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1    everything in this case manages to generate, another motion,

2    but if that happens, it happens.

3              So is there anything further that I need to decide to

4    make things easier for you all?

5              MS. MENNINGER:     Just to clarify, your Honor.

6              THE COURT:    Sure.

7              MS. MENNINGER:     Since you're saying that discovery is

8    open for this limited purpose, I assume that any rebuttal

9    witnesses or subpoenas or discovery requests --

10             THE COURT:    No, no.    I'm just talking about this

11   woman's deposition at the moment.        Now quite obviously, if she

12   comes up with something that's material and that you think

13   needs further investigation and you want to have additional

14   discovery, that's certainly something we'll deal with at that

15   time.   Again, I don't know what this relevant evidence is

16   that's going to be produced, and maybe there won't be any.             I

17   don't know.    So I will permit the deposition for discovery

18   purposes, and we'll stop there, without reaching any conclusion

19   as to whether additional discovery may be necessary.           Okay?

20             MS. MENNINGER:     Typically, your Honor, for a

21   third-party witness such as this woman, we would serve her with

22   a subpoena to appear at a deposition along with relevant

23   documents that we could examine her on at that deposition.

24             THE COURT:    Sure.

25             MS. MENNINGER:     So I'm just making sure, under the


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1    Court's ruling, we are permitted to serve her with such

2    subpoena so she would bring the relevant documents to or in

3    advance of her deposition and we could ask her then.

4              THE COURT:    Sure.   And just to make things clear, I

5    take it, since she's represented by counsel --

6              MS. MENNINGER:     Yes, plaintiff's counsel.

7              THE COURT:    Yes, plaintiff's counsel.       -- that you can

8    agree right now that you'll accept that subpoena on her behalf.

9              MS. McCAWLEY:     Yes.   We'll accept the subpoena on her

10   behalf and make sure she appears.

11             THE COURT:    I assumed you'd do that.

12             MS. McCAWLEY:     Yes.

13             THE COURT:    But a very wise judge once told me, never

14   assume a goddamn thing.      So there you are.     Yes.   That's J.

15   Edward Lumbard's maxim.

16             Anything else?

17             MS. McCAWLEY:     Thank you.

18             MS. MENNINGER:     Not on this motion, your Honor.         Thank

19   you.

20             THE COURT:    Thank you, all.

21             (Adjourned)

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